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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                              4:14CR3147
     vs.
                                                               ORDER
KENNETH A. ZIMMERMAN,
                    Defendants.


     IT IS ORDERED:

      1)    The defendant’s motion to review the conditions of pretrial release, (filing
     no. 33), is granted.

     2)     The defendant shall comply with all terms and conditions of pretrial release
     except as follows:

           The defendant is permitted to leave Nebraska in order to allow him
           to continue employment by temporarily going to Gibson, Illinois
           between May 2, 2015 and May 9, 2015.

           The defendant is required to report to Jim Roberts by telephone daily
           while the defendant is out of the state of Nebraska.

     May 1, 2015.
                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
